Case 2:21-cv-00341-AWA-RJK Document 78-2 Filed 12/28/22 Page 1 of 1 PageID# 640




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

 WAYNE B. LYNCH, Administrator of           )
 the Estate of Donovon W. Lynch,            )
 Deceased,                                  )
                                            )
               Plaintiff,                   )
                                            )
v.                                          )             Civil Action No. 2:21-CV-00341
                                            )
 SOLOMON D. SIMMONS, lll,                   )
 a/k/a, SOLOMON D. SIMMMONS,                )
 Individually And In His Official           )
 Capacity As A Police Officer For           )
 The City Of Virginia Beach, Virginia,      )
                                            )
 and                                        )
                                            )
 CITY OF VIRGINIA BEACH,                    )
                                            )
               Defendants.                  )



                                            ORDER

       FOR GOOD CAUSE SHOWN, pursuant to Rule 24 of the Federal Rules of Civil Procedure,
the Motion to Intervene by Anchor Legal Group, PLLC to recognize and enforce its attorney lien in
this matter, is hereby GRANTED.

                                                   It Is So Ordered,



                                                   ____________________________________
                                                   The Honorable Arenda Wright Allen
                                                   United States District Court Judge
